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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION

UNITED STATES                                                                         PLAINTIFF

v.                                  Case No. 5:13-CR-50097-003

DAVNA HOEPFNER                                                                     DEFENDANT

                                           ORDER

       On October 30, 2013, Defendant filed an unopposed motion to determine competency. (Doc.

39). That motion was granted on October 31, 2013, and thereafter, Defendant underwent a

psychiatric evaluation. A psychological evaluation report issued on January 27, 2014, in which a

licensed psychologist with the Federal Detention Center in Miami, Florida, opined that Defendant

was competent to stand trial.

       The Court has now received the report and recommendation (Doc. 80) of United States

Magistrate Judge Erin L. Setser regarding the matter of Defendant’s competency. No objections

were filed in response to the Magistrate’s recommendation.

       Having reviewed this case and being well and sufficiently advised, the Court therefore finds

as follows: the report and recommendation is proper and should be and hereby is ADOPTED IN ITS

ENTIRETY. For the reasons stated in the Magistrate Judge’s report and recommendation,

Defendant is found competent to proceed in this matter.

       IT IS SO ORDERED this 4th day of March, 2014.


                                                             /s/P. K. Holmes, III
                                                             P.K. HOLMES, III
                                                             CHIEF U.S. DISTRICT JUDGE
